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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


 AMAZON.COM, INC. and AMAZON
 DATA SERVICES, INC.,

               Plaintiffs,

        v.

 WDC HOLDINGS LLC dba NORTHSTAR
 COMMERCIAL PARTNERS; BRIAN                             CASE NO. 1:20-CV-484-LO-TCB
 WATSON; STERLING NCP FF, LLC;
 MANASSAS NCP FF, LLC; NSIPI
 ADMINISTRATIVE MANAGER; NOVA
 WPC LLC; WHITE PEAKS CAPITAL LLC;
 VILLANOVA TRUST; CARLETON
 NELSON; CASEY KIRSCHNER;
 ALLCORE DEVELOPMENT LLC;
 FINBRIT HOLDINGS LLC; CHESHIRE
 VENTURES LLC; JOHN DOES 1-20,

               Defendants.


       PLAINTIFFS’ MOTION & MEMORANDUM IN SUPPORT THEREOF FOR
       LEAVE TO FILE UNDER SEAL CERTAIN DOCUMENTS IN SUPPORT OF
        PLAINTIFFS’ RESPONSE TO DEFENDANTS BRIAN WATSON & WDC
             HOLDINGS LLC’S MOTION TO CLARIFY INJUNCTION

        In accordance with the Agreed Protective Order in this case (Dkt. 55), Plaintiffs

 Amazon.com, Inc. and Amazon Data Services, Inc. respectfully seek leave to file under seal the

 unredacted version of their Response To Defendants Brian Watson & WDC Holdings LLC’s

 Motion To Clarify Injunction. Plaintiffs’ Response refers to information that (a) was designated

 “Highly Confidential—Outside Attorneys’ Eyes Only” under the Court’s July 9, 2021 order

 designating the contents of three devices owned by Defendant Brian Watson as such, Dkt. 302;

 and (b) Defendants Brian Watson and WDC Holdings LLC designated “Confidential” under the

 Protective Order entered in this case, Dkt. 55. See Dkt. 350 ¶¶ 4, 8, 10, 43–44, 48–74. Without
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 waiving any objections they may have or relief they may seek under the Protective Order, Plaintiffs

 take no position as to Defendants’ designation of the information at issue as “Confidential” but

 file this motion to comply with the Protective Order and Local Civil Rule 5(C). Under Local Civil

 Rule 5, Defendants Watson and WDC Holdings “must file a response to [this] motion complying

 with [the] requirements” of Local Civil Rule 5(C)(2), (3), and (4), justifying the sealing of the

 above-referenced materials, and supplying a proposed order.


 Dated: October 4, 2021                Respectfully submitted,

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                                       Patrick F. Stokes (pro hac vice)
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on October 4, 2021, I will electronically file the foregoing with the

 Clerk of Court using the CM/ECF system. I will then send the document and a notification of such

 filing (NEF) to the following parties via U.S. mail to their last-known address and by email, where

 noted:



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